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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

Clarence and Tammy Frost, individually                                   Civil Case No.:
and on behalf of all others similarly
situated,

               Plaintiffs,                          CLASS ACTION COMPLAINT

      v.

Wayfair Inc., d/b/a
Wayfair,

               Defendant.

                                    INTRODUCTION

       1.       This case arises because Defendant’s website (www.wayfair.com)

(Defendant’s Website) is not fully and equally accessible to people who are blind or who

have low vision in violation of both the general non-discriminatory mandate and the

effective communication and auxiliary aids and services requirements of the Americans

with Disabilities Act 42 U.S.C. §12181, et seq. (the “ADA”) and its implementing

regulations.

       2.       As the National Federation of the Blind has explained:

       In many ways, individuals with disabilities rely on Web content more so than their
       nondisabled peers because of inherent transportation, communication, and other
       barriers. A blind person does not have the same autonomy to drive to a covered
       entity’s office as a sighted person. A deaf or hard of hearing person does not have
       the same opportunity to call a covered entity’s office. A person with an intellectual
       disability does not have the same ability to interact independently with the staff at
       a covered entity’s office. The 24-hour-a-day availability of information and
       transactions on covered entity websites and mobile apps provides a level of
       independence and convenience that cannot be replicated through any other means.
       That is why the number of Americans who rely on the Internet has increased year
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       after year and why entities offer information and transactions through that unique
       medium.

See Comment from disability rights organizations to DOJ Supplemental Advance Notice
of Proposed Rulemaking “Nondiscrimination on the Basis of Disability; Accessibility of
Web Information and Services of State and Local Government Entities,” C RT Docket No
128, RIN 119 -AA65, Answer 57 (October 7, 2016) (citations omitted).

       3.      Plaintiffs, on behalf of themselves and others who are similarly situated,

seek relief including an injunction requiring Defendant to make its website accessible to

Plaintiffs and the putative class; and requiring Defendant to adopt sufficient policies,

practices and procedures, the details of which are more fully described below, to ensure

that Defendant’s website remains accessible in the future. Plaintiffs also seeks an award

of statutory attorney’s fees and costs, and such other relief as the Court deems just,

equitable, and appropriate.

       4.      The injunctive relief that Plaintiffs seek will inure to the benefit of an

estimated 2.3 percent of the United States population who reports having a visual

disability. See Erickson, W., Lee, C., von Schrader, S., Disability Statistics from the

American Community Survey (ACS), Cornell University Yang-Tan Institute (YTI),

www.disabilitystatistics.org (last accessed Apr. 12, 2022).

       5.      It will also benefit Defendant, who will extend its market reach to this

population. See Sharron Rush, The Business Case for Digital Accessibility, W3C Web

Accessibility Initiative (Nov. 9, 2018), https://www.w3.org/WAI/business-case/ (last

accessed Apr. 12, 2022) (“The global market of people with disabilities is over 1 billion

people with a spending power of more than $6 trillion. Accessibility often improves the

online experience for all users.”).


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                                PRELIMINARY FACTS

       6.      In a September 25, 2018 letter to U.S. House of Representative Ted Budd,

U.S. Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that

public accommodations must make the Website they own, operate, or control equally

accessible to individuals with disabilities. Assistant Attorney General Boyd’s letter

provides:

       The Department [of Justice] first articulated its interpretation that the ADA
       applies to public accommodations’ Website over 20 years ago. This
       interpretation is consistent with the ADA’s title III requirement that the
       goods, services, privileges, or activities provided by places of public
       accommodation be equally accessible to people with disabilities.

See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice,
to Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018).

       7.      Plaintiffs and the members of the putative class are blind and low vision

individuals and are reliant upon screen reader technology to navigate the Internet.

       8.      Screen reader “software translates the visual internet into an auditory

equivalent. At a rapid pace, the software reads the content of a webpage to the user.”

Andrews v. Blick Art Materials, LLC, 286 F.Supp.3d 365, 374 (E.D.N.Y. 2017) (J.

Weinstein).

       The screen reading software uses auditory cues to allow a visually impaired
       user to effectively use websites. For example, when using the visual
       internet, a seeing user learns that a link may be “clicked,” which will bring
       her to another webpage, through visual cues, such as a change in the color
       of the text (often text is turned from black to blue). When the sighted user's
       cursor hovers over the link, it changes from an arrow symbol to a hand.




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      The screen reading software uses auditory—rather than visual—cues to
      relay this same information. When a sight impaired individual reaches a
      link that may be “clicked on,” the software reads the link to the user, and
      after reading the text of the link says the word “clickable.” … Through a
      series of auditory cues read aloud by the screen reader, the visually
      impaired user can navigate a website by listening and responding with her
      keyboard.

      9.      Web-based technologies have features and content that are modified on a

daily, and in some instances an hourly, basis. As a result, a one-time “fix” to an

inaccessible website will not cause the website to remain accessible without a

corresponding change in corporate policies related to those web-based technologies.

Jonathan Lazur et al., Ensuring Digital Accessibility Through Process and Policy 140

(2015).

      10.     As one leading commentator notes,

      The most significant problem is maintaining the accessibility of a large
      commercial site. Without policies, procedures and metrics—such as testing
      a release for accessibility before posting to the website and training in
      accessible design (so that accessibility is part of the design process the way,
      say, cybersecurity is)—the site’s status as accessible will be temporary at
      best.

See Fighting for Accessible Website under the ADA: Daniel Goldstein, Brown
Goldstein Levy, Baltimore, Bloomberg BNA, Jan. 13, 2016, ISSN 1098-5190
(reproduced with permission from Electronic Commerce & Law Report, 21
ECLR, 2, 1/13/16)

      11.     To evaluate whether an inaccessible website has been rendered accessible,

and whether corporate policies related to web-based technologies have been changed in a

meaningful manner that will cause the website to remain accessible, the website must be




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reviewed on a periodic basis using both automated accessibility screening tools, manual

and end user testing by disabled individuals.

        [I]f you have planned to redesign or add a certain segment to your site, then
        make it accessible from the start. It’s far cheaper to plan for an elevator
        than to decide to add one once your 30-story building is complete. Or if you
        are re-branding, consider using templates that will ensure accessibility.
        Make sure you have policies, procedures and metrics in place so that you
        know if you are maintaining accessibility and can identify why, if you are
        not. Most of all, consult disabled consumers or a consumer organization
        before deciding what you are going to do, and have consumers actually test
        the changes.

        Something you imagine you may need to do, you may not need to do at all
        or may be able to do much cheaper. Something you hadn’t thought to do
        may be critical to accessibility. And, of course, if you work with the
        disability community, they will spread the word that this is no longer a site
        to be avoided, but to be used.

Id. at 3.

        12.    “As technology continues to evolve at a rapid pace, it is important to

consider factors that can facilitate or impede technology adoption and use by people with

disabilities.” National Disability Policy: A Progress Report, Nat’l Council on Disability

(Oct. 7, 2016), https://ncd.gov/sites/default/files/NCD_ProgressReport_ES_508.pdf.

        13.    This is especially true with respect to accessing goods and services over the

internet, where people with disabilities stand to benefit immensely if online services are

fully and equally accessible to them.

        14.    When digital content is properly formatted, it is universally accessible to

everyone. When it’s not, the content provider fails to communicate to individuals with a

visual disability effectively. In turn, these individuals must expend additional time and


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effort to overcome communication barriers not applicable to sighted users, which may

require the assistance of third parties or, in some instances, deny outright access to the

online service.

       15.    Such difficulties often lead disabled individuals to abandon the process of

purchasing items online after they begin. See Kasey Wehrum, Your Website is Scaring

Customers     Away.    5    Easy    Ways     to   Fix    It.,   Inc.   Mag.   (Jan.   2014),

https://www.inc.com/magazine/201312/kasey-wehrum/how-to-getonline-customers-to-

complete-purchase.html (documenting the most common causes of shopping cart

abandonment, including: “Your Checkout button is hard to find[,]” “Shoppers question

the safety of their personal info[,]” and “Getting through the checkout process takes

multiple clicks.”).

                             JURISDICTION AND VENUE

       16.    The claims alleged arise under Title III such that this Court’s jurisdiction is

invoked pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       17.    Defendant purposefully avails itself of the benefits and advantages of

operating an interactive, online business open 24-hours a day, 7-days a week, 365-days a

year which, through its website, engages with residents of Minnesota and participates in

the State of Minnesota’s economy by offering and providing services and products for

sale over the internet to Minnesota residents, including Plaintiffs.

       18.    Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is

the judicial district in which a substantial part of the acts and omissions giving rise to

Plaintiffs’ claims occurred. As described in additional detail below, Plaintiffs were


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injured when they attempted to access Defendant’s website from Minnesota, but

encountered barriers that denied her full and equal access to Defendant’s online goods,

content, and services.

                                        PARTIES

       19.    Plaintiffs are and, at all times relevant hereto, have been residents of

Minnesota.

       20.    Plaintiffs are and, at all times relevant hereto, have been legally blind and

are therefore disabled under the ADA, 42 U.S.C. § 12102(2), and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

       21.    Defendant Wayfair Inc., d/b/a Wayfair, is a Boston, Massachusetts

Company, and is headquartered at 4 Coplay Pl. 7th Floor, Boston, MA 02116. Defendant

does business as Wayfair.

       22.    Upon information and belief, Defendant has offices and warehouses

throughout the United States and in Canada, Germany, Ireland, China, and the United

Kingdom.

       23.    Upon information and belief, Defendant operates five branded retail

websites: Wayfair, Joss & Main, AllModern, Birch Lane, and Perigold.

                     ADDITIONAL FACTUAL ALLEGATIONS

       24.    In order to browse, research, read reviews, get ideas, find inspiration, and

purchase the products and services linked on Defendant’s Website, individuals may visit

Defendant’s website.




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       25.      Defendant owns, operates, and/or controls Defendant’s Website and is

responsible for the policies, practices, and procedures concerning the website’s

development and maintenance.

       26.      As a consequence of the experience visiting Defendant’s Website,

including in 2023, and from investigation performed on her behalf, Plaintiffs found

Defendant’s Website has a number of digital barriers that deny screen-reader users like

Plaintiffs full and equal access to important website content – content Defendant makes

available to its sighted website users. For example:

             a. Defendant’s Website fails to alert screen readers to pop-up window content.
                Instead, screen readers remain focused on the content of the website’s
                underlying page. As a result, pop-up content defendant deems sufficiently
                important to convey to its sighted website visitors is completely unavailable
                to screen reader users;

             b. The purpose of certain links and/or buttons on the website is not described
                adequately to screen reader users. As a result, screen reader users cannot
                understand what the link and/or button does, making navigation an exercise
                in trial and error.

             c. Defendant’s Website does not provide sufficient screen reader accessible
                text equivalent for important non-text image(s). People who are blind will
                not be able to understand the content and purpose of images, such as
                pictures, illustrations, and charts, when no text alternative is provided. Text
                alternatives convey the purpose of an image, including pictures,
                illustrations, charts, etc.; and

             d. Defendant’s Website's illogical tab and focus order confuses and disorients
                sight-impaired users and does not function properly.

       27.       Still, Plaintiffs would like to, intend to, and will attempt to access

Defendant’s Website in the future to browse, research, or shop online and purchase the

products and services that Defendant offers.



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       28.    Defendant’s policies regarding the maintenance and operation of its website

fail to ensure that Defendant’s Website is fully accessible to, and independently usable

by, individuals with vision-related disabilities.


       29.    Plaintiffs and the putative class have been, and in the absence of injunctive

relief will continue to be, injured and discriminated against by Defendant’s failure to

provide its online website content and services in a manner that is compatible with screen

reader technology.

                                 CLASS ALLEGATIONS

       30.    Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23(a) and 23(b)(2),

individually and on behalf of the following class:

       All blind or have a low vision disability within the meaning of the ADA who use
       screen reader auxiliary aids to navigate digital online content and who have
       accessed, attempted to access, or who may access or attempt to access Defendant’s
       Website

       31.    This action is a prototypical civil-rights action of the kind expressly

contemplated for class-certification by the draftsman of Fed. R. Civ. P. 23(b)(2). The note

to the 1966 amendment to Rule 23 states: “Subdivision (b)(2). This subdivision is

intended to reach situations where a party has taken action or refused to take action with

respect to a class, and final relief of an injunctive nature or a corresponding declaratory

nature, settling the legality of the behavior with respect to the class as a whole, is

appropriate. . . Illustrative are various actions in the civil rights filed where a party is

charged with discriminating unlawfully against a class, usually one whose members are

incapable of specific enumeration.” See also, Newberg on Class Actions § 4:40 (5th ed.


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2014) (“The types of civil rights cases that have often been certified as (b)(2) class

actions include . . . disability discrimination actions under the Americans with

Disabilities Act (ADA).”).

                                    NUMEROSITY

       32.     The classes described above is so numerous that joinder of all individual

members in one action would be impracticable.

       33.     According to the United States Department of Justice: “The U.S. Census

Bureau’s 2002 Survey of Income and Program Participation (SIPP) found that there are

51.2 million people with disabilities in the United States . . . Millions of people with

disabilities regularly travel, shop, and eat out with family and friends . . . The

Administration on Aging projects that by 2030 there will be more than 69 million people

age 65 and older, making up approximately 20% of the total U.S. population. The large

and growing market of people with disabilities has $175 billion in discretionary spending,

AARP says that four million Americans turn 50 each year and that people age 50 and

older spent nearly $400 billion in 2003. At age 50, adults are likely to experience age-

related physical changes that may affect hearing, vision, cognition, and mobility.”

       34.     According to the American Foundation for the Blind, an estimated 32.2

million adult Americans (or about 13% of all adult Americans) reported they either "have

trouble" seeing, even when wearing glasses or contact lenses, or that they are blind or

unable to see at all.




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       35.    According to The National Federation of the Blind, the number of non-

institutionalized individuals reported to have a visual disability in the United States in

2016 is 7,675,600 -- 86,500 of whom reside in Minnesota.

       36.    According to the National Institutes of Health (NIH), the number of people

with visual impairment or blindness in the United States is expected to double to more

than 8 million by 2050, according to projections based on the most recent census data and

from studies funded by the National Eye Institute, part of the National Institutes of

Health. Another 16.4 million Americans are expected to have difficulty seeing due to

correctable refractive errors such as myopia (nearsightedness) or hyperopia

(farsightedness) that can be fixed with glasses, contacts or surgery.

       37.    According to the United States Center for Disease Control and Prevention

(CDC), Vision disability is one of the top 10 disabilities among adults 18 years and older.

       38.    An estimated 2.3 percent of the United States population reports having a

visual disability. See Erickson, W., Lee, C., von Schrader, S., Disability Statistics from

the American Community Survey (ACS), Cornell University Yang-Tan Institute (YTI),

www.disabilitystatistics.org (last accessed Apr. 12, 2022).

       39.    The U.S. Chamber of Commerce has documented consumers’ increasing

reliance on the internet to shop online:

       The average consumer spends more than $1,700 per year on online shopping, a
       number that’s continuing to rise. The convenience, affordability and ability to
       compare prices with ease has led more and more customers to visit e-commerce
       sites before heading to a brick-and-mortar location.

See Emily Heaslip, A Guide to Building an Online Store, U.S. Chamber of Commerce
(Sept. 20, 2019), https://www.uschamber.com/co/start/startup/how-to-build-online-stores.


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       40.    Researchers have determined that: 95% of consumers will buy at least half

of their gifts online. The Leanplum survey found that 80% of respondents shop on their

mobile devices. See Emily Heaslip, Ways to Optimize Your E-Commerce Site for Mobile

Shopping,       U.S.         Chamber       of        Commerce      (Jan.     6,      2020),

https://www.uschamber.com/co/run/technology/building-mobilefriendly-commerce-

websites.

       41.    According to at least one report, ecommerce is growing at the rate of 23%

each year. See Emily Heaslip, The Complete Guide to Selling Online, U.S. Chamber of

Commerce     (Jan.     28,   2020),    https://www.uschamber.com/co/run/technology/small-

business-ecommerce-guide.

       42.    “The global market of people with disabilities is over 1 billion people with

a spending power of more than $6 trillion. Accessibility often improves the online

experience for all users.”). See Sharron Rush, The Business Case for Digital Accessibility,

W3C Web Accessibility Initiative (Nov. 9, 2018), https://www.w3.org/WAI/business-

case/ (last accessed Apr. 12, 2022)

       43.    These facts easily permit a common-sense inference that the numerosity

requirement has been met in this matter.

       44.    In addition, Plaintiffs anticipate that the record evidence gathered during

discovery will further demonstrate that Rule 23(a)(1) has been satisfied in this matter.

                                        TYPICALITY

       45.    Plaintiffs’ claims are typical of the claims of the members of the classes.

The claims of Plaintiffs and members of the classes are all based on the same legal theory


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and all arise from the same unlawful conduct. Plaintiffs and the class members all have

the same grievance and are all entitled to the same relief.

       46.      Plaintiffs’ interests align with the interests of the putative classes because

they and each class member seek injunctive relief requiring Defendant to make changes

to its existing website and related policies, practices and procedures in order to ensure

Defendant’s website become and remain ADA compliant, relief that would benefit all

members of the proposed classes.

                     COMMON QUESTIONS OF FACT AND LAW

       47.      There are factual and legal issues common to Plaintiffs and all class

members. As explained herein, Defendant’s Website violates the ADA, and Defendant's

policies, practices and procedures fail to ensure that its website does not discriminate

against people who are blind or have low vision within the meaning of the ADA. And

this Court can remedy Defendant’s violation of the ADA by issuing an injunction

requiring changes to Defendant’s Website and to its related policies, procedures and

practices. Accordingly, “there are questions of law or fact common to the class.” Fed. R.

Civ. P. 23(a)(2), including:

       a.       Whether Defendant’s Website fails to provide individuals who are blind or
                have low vision with the appropriate auxiliary aids and services necessary
                to ensure effective communication with individuals with disabilities who
                rely on scree-reader technology in violation of Title III of the ADA and its
                implementing regulations;

       b.       Whether Defendant’s website-related policies, practices and procedures
                discriminate against Plaintiffs and putative class members in violation of
                Title III of the ADA and its implementing regulations; and




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       c.       What measures are available to remedy the concerns of Plaintiffs and
                putative class.

       48.      Whether and to what extent Defendant’s Website and related policies,

practices and procedures are unlawful presents a common question with only one answer:

Defendant’s Website and related policies, procedures and practices either violate the

ADA or they do not. If Defendant’s Website and related policies, procedures and

practices are discriminatory, then each class member is entitled to injunctive relief. On

the other hand, if the website and related policies, procedures and practices do not violate

the ADA, then no class member is entitled to injunctive relief. Either way, this

proceeding will generate a common answer, the determination of which “will resolve an

issue… central to the validity of each one [of the class members’] claims in one stroke.”

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

                         ADEQUACY OF REPRESENTATION

       49.      Plaintiffs will fairly, adequately, and vigorously represent and protect the

interests of the members of the class and have no interests antagonistic to the members of

the class. Plaintiffs have retained counsel who is competent and experienced in the

prosecution of class action litigation and who possess substantial ADA expertise.

                                   CAUSE OF ACTION

                       VIOLATION OF TITLE III OF THE ADA

       50.      In the broadest terms, the ADA prohibits discrimination on the basis of a

disability in the full and equal enjoyment of goods and services of any place of public

accommodation. 42 U.S.C. § 12182(a). Thus, to the extent Defendant does not provide



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Plaintiffs with full and equal access to its Website, it has violated the ADA’s general non-

discriminatory mandate.

       51.      Specific provisions within the ADA require, inter alia, that “[a] public

accommodation shall furnish appropriate auxiliary aids and services where necessary to

ensure effective communication with individuals with disabilities.” 28 C.F.R. §

36.303(c)(1).

       52.      The regulations set forth numerous examples of “auxiliary aids and

services,” including “… accessible electronic and information technology; or other

effective methods of making visually delivered materials available to individuals who are

blind or have low vision.” 28 C.F.R. § 36.303(b).

       53.      Auxiliary aids and services include, but are not limited to, audio recordings,

screen reader software, magnification software, optical readers, secondary auditory

programs, large print materials, accessible electronic and information technology, other

effective methods of making visually delivered materials available to individuals who are

blind or have low vision, and other similar services and actions. 28 C.F.R. §§

36.303(b)(2), (4).

       54.      The term “auxiliary aids and services” also includes the “[a]cquisition or

modification of equipment or devices; and [o]ther similar services and actions.” Id.

       55.      The ADA Title III regulations further require that “[i]n order to be

effective, auxiliary aids and services must be provided in accessible formats, in a timely

manner, and in such a way as to protect the privacy and independence of the individual

with a disability.” Id. (emphasis added).


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       56.      The House Committee on Education and Labor stated that it intended “that

the types of accommodation and services provided to individuals with disabilities, under

all of the titles of this bill, should keep pace with the rapidly changing technology of the

times,” and that technological advances “may require public accommodations to provide

auxiliary aids and services in the future which today would not be required because they

would be held to impose undue burdens on such entities.” H.R. Rep. No. 101-485, pt. 2,

at 108 (1990).

       57.      Similarly, the United States Department of Justice, in promulgating the

rules implementing Title III in 1991, explained that it was “not possible to provide an

exhaustive list [of auxiliary aids and services], and such an attempt would omit new

devices that will become available with emerging technology.” 28 C.F.R. pt. 36, App. C,

p. 912 (discussion of § 36.303).

       58.      As the Ninth Circuit has explained, “assistive technology is not frozen in

time: as technology advances, [ ] accommodations should advance as well.” Enyart v.

Nat'l Conference of Bar Examiners, Inc., 630 F.3d 1153, 1163 (9th Cir. 2011).

       59.      By failing to provide its website’s content and services in a manner that is

compatible with auxiliary aids, Defendant has engaged, directly, or through contractual,

licensing, or other arrangements, in illegal disability discrimination, as defined by Title

III, including without limitation:

       a.       denying individuals with visual disabilities opportunities to participate in
                and benefit from the goods, content, and services available on its website;

       b.       affording individuals with visual disabilities access to its website that is not
                equal to, or effective as, that afforded others;


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       c.       utilizing methods of administration that (i) have the effect of discriminating
                on the basis of disability; or (ii) perpetuate the discrimination of others who
                are subject to common administrative control;

       d.       denying individuals with visual disabilities effective communication,
                thereby excluding or otherwise treating them differently than others; and/or

       e.       failing to make reasonable modifications in policies, practices, or
                procedures where necessary to afford its services, privileges, advantages, or
                accommodations to individuals with visual disabilities.

       60.      Defendant has violated Title III by, without limitation, failing to make its

website’s services accessible by screen reader programs, thereby denying individuals

with visual disabilities the benefits of the Website, providing them with benefits that are

not equal to those it provides others, and denying them effective communication.

       61.      Defendant has further violated Title III by, without limitation, utilizing

administrative methods, practices, and policies that allow its website to be made available

without consideration of consumers who can only access the company’s online goods,

content, and services with screen reader programs.

       62.      Defendant’s ongoing violations of Title III have caused, and in the absence

of an injunction will continue to cause, harm to Plaintiffs and other individuals with

visual disabilities.

       63.      Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set

forth and incorporated therein, Plaintiffs requests relief as set forth below.




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                                 REQUEST FOR RELIEF

WHEREFORE, Plaintiffs respectfully requests judgment as follows:

       (A)    An order certifying the proposed Class, appointing Plaintiffs as

representative of the proposed Class, and appointing undersigned counsel as counsel for

the proposed Class;

       (B)    A Declaratory Judgment that at the commencement of this action

Defendant was in violation of the specific requirements of Title III of the ADA described

above, and the relevant implementing regulations of the ADA, in that Defendant took no

action that was reasonably calculated to ensure Defendant communicated the digital

content of its Digital Platform to individuals with disabilities effectively such that

Douglass could fully, equally, and independently access Defendant’s products and

services;

       (C)    A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to communicate the content

of its Digital Platform to screen reader users effectively such that Defendant’s online

products and services are fully, equally, and independently accessible to individuals with

visual disabilities, and which further directs that the Court shall retain jurisdiction for a

period to be determined to ensure that Defendant has adopted and is following an

institutional policy that will in fact cause it to remain fully in compliance with the law—

the specific injunctive relief requested by Plaintiffs is described more fully below.1


1
 The injunctive relief herein is consistent with a 2011 settlement agreement entered into between
National Federation of the Blind and The Pennsylvania State University, available at


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        (1)     Within 90-days of the Court’s Order, Defendant shall complete an
                accessibility audit of its Digital Platform that will examine the accessibility
                and usability of the Digital Platform by consumers who are blind.

        (2)     Within 180-days of the Court’s Order, Defendant shall develop a corrective
                action strategy (“Strategy”) based on the audit findings. In addition to the
                deadlines outlined below, the Strategy shall include dates by which
                corrective action shall be completed.

        (3)     Within 210-days of the Court’s Order, Defendant shall disseminate the
                Strategy among its executive-level managers, employees, and contractors, if
                any, involved in digital development and post it on the Digital Platform.

        (4)     Within 90-days of the Court’s Order, Defendant shall develop a Digital
                Accessibility Policy Statement that demonstrates its commitment to digital
                accessibility to blind and other vision disabled consumers, as required by
                the Americans with Disabilities Act. This Policy Statement shall be posted
                in the header of each homepage on the Digital Platform within 120-days of
                the Court’s Order, and shall disclose that an audit is taking or has taken
                place and that a Strategy will be disseminated and posted on the Digital
                Platform within 180-days of the Court’s Order.

        (5)     Within 240-days of the Court’s Order, Defendant shall develop procedures
                to implement its Digital Accessibility Policy across the entire Digital
                Platform. Defendant shall disseminate its Policy and procedures to its
                executive-level managers, employees, and contractors, if any, involved in
                digital development.

        (6)     Within 12-months of the Court’s Order, Defendant shall conduct training,
                instruction and support to ensure that all executive-level managers and
                employees involved in digital development are aware of and understand the
                Digital Accessibility Policy, including proper procedures, tools, and
                techniques to implement the Digital Accessibility Policy effectively and
                consistently.

        (7)     Within 12-months of the Court’s Order, Defendant shall hire or designate a
                staff person with responsibility and commensurate authority, to monitor the
                Digital Accessibility Policy and procedures.

https://accessibility.psu.edu/nfbpsusettlement/ (last accessed Apr. 12, 2022); a 2014 settlement agreement
between the U.S. Department of Justice and Ahold U.S.A., Inc. and Peapod, LLC, supra note 47; and a
2014 Resolution Agreement between the U.S. Department of Education and Youngstown State
University,        available      at      https://www2.ed.gov/documents/pressreleases/youngstown-state-
universityagreement.pdf


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(8)    Within 12-months of the Court’s Order, Defendant shall develop and
       institute procedures that require third-party content and plug-ins built into
       the Digital Platform to provide blind consumers the same programs,
       benefits and services that they do to individuals without disabilities, except
       that when it is technically unfeasible to do so. Defendant shall effectuate
       these obligations by, among other things, implementing as part of its
       Request for Proposal process language that bidders meet the accessibility
       standards set forth in WCAG 2.1 Level AA for web-based technology and
       the Americans with Disabilities Act; requiring or encouraging, at
       Defendant’s discretion, as part of any contract with its vendors, provisions
       in which the vendor warrants that any technology provided complies with
       these standards and any applicable current federal disability law.

(9)    Within 18-months, all pages hosted on the Digital Platform that have been
       published shall be Accessible to blind users. “Accessible” means fully and
       equally accessible to and independently usable by blind individuals so that
       blind consumers are able to acquire the same information, engage in the
       same interactions, and enjoy the same services as sighted consumers, with
       substantially equivalent ease of use.

(10)   Defendant shall not release for public viewing or use a substantial addition,
       update, or change to the Digital Platform until it has determined through
       automated and manual user testing that those proposed additions, updates,
       or changes are Accessible.

(11)   Defendant shall conduct (a) an automated scan monthly and (b) manual
       end-user testing quarterly thereafter to ascertain whether any new posted
       content is accessible. Defendant shall notify all employees and contractors,
       if any, involved in digital development if corrections to the Digital Platform
       are needed and of reasonable timelines for corrections to be made.
       Defendant shall note if corrective action has been taken during the next
       monthly scan and quarterly end-user test.

(12)   Following the date of the Court’s Order, for each new, renewed, or
       renegotiated contract with a vendor of Third-Party Content, Defendant shall
       seek a commitment from the vendor to provide content in a format that is
       Accessible.

(13)   Defendant shall provide Plaintiffs, through his counsel, with a report on the
       first and second anniversaries of the Court’s Order which summarize the
       progress Defendant is making in meeting its obligations. Additional
       communication will occur before and after each anniversary to address any


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             possible delays or other obstacles encountered with the implementation of
             the Digital Accessibility Policy.

      (D)    Payment of actual, statutory, nominal, and other damages, as the Court

deems proper;

      (E)    Payment of costs of suit;

      (F)    Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and

28 CFR § 36.505, including costs of monitoring Defendant’s compliance with the

judgment;

      (G)    Whatever other relief the Court deems just, equitable and appropriate; and

      (H)    An Order retaining jurisdiction over this case until Defendant has complied

with the Court’s Orders.

Date: January 22, 2024                   Respectfully submitted,

                                         THRONDSET MICHENFELDER, LLC

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